            Case 1:22-cr-10038-IT Document 168 Filed 02/28/24 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA              )
                                      )
       v.                             )               Criminal No. 22-CR-10038-IT
                                      )
ARIEL LEGASSA                         )

                                          Notice of Appeal

       Defendant Ariel Legassa hereby appeals the judgment, sentence and all pretrial and trial

rulings.




                                                      ARIEL LEGASSA
                                                       By his attorney,

                                                      /s/ E. Peter Parker
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                                       Certificate of Service

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2024.

                                                      /s/ E. Peter Parker
                                                      E. Peter Parker
